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15
                                  UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                          OAKLAND DIVISION
18
     IN RE LITHIUM ION BATTERIES
19   ANTITRUST LITIGATION                            Case No. 13-MD-02420 YGR (DMR)

20                                                   MDL No. 2420
21
                                                     SUPPLEMENTAL STATUS REPORT
22   This Documents Relates to:                      ON SETTLEMENT DISTRIBUTION

23   ALL INDIRECT PURCHASER ACTIONS
                                                     DATE ACTION FILED: Oct. 3, 2012
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 1          On December 9, 2022 (ECF No. 2757), Indirect Purchaser Plaintiffs committed to filing an
 2   updated proposal for distribution with the Court by March 17, 2023. Counsel is still working with
 3   the vendors to ensure a correct proposed distribution plan to the Court. Accordingly, Indirect
 4   Purchaser Plaintiffs will file the proposed plan of distribution on March 24, 2023.
 5
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     DISTRIBUTION - Case No. 4:13-md-02420-YGR      -1-
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